






THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT
BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING
EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
Howard Smith,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Appellant.
      
    
  


Appeal From Chester County
Paul E. Short, Jr., Circuit Court Judge

Unpublished Opinion No. 2005-UP-309
Submitted May 1, 2005  Filed May 6, 2005

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Robert M. Dudek, of Columbia, for Appellant.
Attorney General Henry D. McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Donald J. Zelenka, all of Columbia; and Solicitor John R. Justice, of Chester, for Respondent.
      
    
  

PER CURIAM: Howard Smith appeals his conviction for murder. &nbsp;Smiths appellate counsel has petitioned to be relieved as counsel, stating he has reviewed the record and concluded Smiths appeal is without merit.&nbsp; Smith filed a separate pro se brief.
After a review of the record and briefs as required by Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we hold there are no directly appealable issues arguable on their merits.&nbsp; Accordingly, we dismiss this appeal and grant counsels petition to be relieved.[1]
APPEAL DISMISSED.
GOOLSBY, HUFF, and KITTREDGE, JJ., concur.

&nbsp;&nbsp;&nbsp;&nbsp; [1] We decide this case without oral argument pursuant to Rule 215, SCACR.&nbsp; 

